EXHIBIT 40
ELEVATOR SHAFT LOSS EVENT
 RESPONSE TO J.S. HELD REPORT

              November 16, 2020




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REPORT DESCRIPTION

 CASE / PROJECT        SM 10000 Property, LLC and Swinerton Builders v. Allianz
                       Global Risks US
 OUR CLIENT            Allen Matkins

 REPORT TITLE          Elevator Shaft Loss Event - Review of J.S. Held Report
 ISSUE DATE            November 16, 2020
 REPORT REFERENCE NR   XP/SM/002
 REPORT STATUS         For submission
 DISCLAIMER            The opinions in the report are based on our review and
                       analysis to date. We reserve the right to update these
                       opinions upon receipt of new information, or in rebuttal to
                       future expert testimony.
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1.       INTRODUCTION

We have reviewed the Expert Report prepared by J.S. Held (JSH) dated October 26, 2020
and have identified aspects of their report where we disagree with the JSH methodology
and/or opinions. The following response is not intended to include every opinion related
to the JSH report, but to provide a summary of some of the primary substantive areas
where we believe that the evidence is contradictory to the JSH opinions and where we
believe that the JSH methodology is inappropriately applied to reach their conclusions.

2.       RESPONSES TO JSH OPINIONS

JSH Opinion 1. The repair work to the elevators as a result of the loss event was completed
by February 26, 2016.

Response: As of the date of the loss event, Schindler was nearing completion of their
Jump 1 and, in addition to having completed certain permanent installations within the
passenger elevator shaft, had working and functional temporary cars, crash decks, and
Guide Rail Installation Kit (GRIK) tool for each of the passenger elevator cars A, B, C and
D. Due directly to the loss event, a considerable amount of permanent installations and
virtually all of the temporary equipment in the affected shafts including the GRIK tool had
to be replaced.1

JSH erroneously equated the end of Schindler’s clean-up of debris and splatter from the
concrete spill as establishing the return to the pre-loss condition and found, based on
Schindler Daily Reports, that the clean-up activities ended on February 26, 2016.
Schindler’s Change Order #7 and correspondence between Swinerton and Schindler
dated March 29, 20162 surrounding that change order, establish that the clips on floors 1
through 19, which were damaged by the concrete spill, were not replaced until after
March 29, 2016. Schindler’s Daily Reports and employee timecards3 establish that the
passenger shaft GRIK tool destroyed by the concrete spill was rebuilt during the week of
April 25, 2016 - April 29, 2016. In particular, the GRIK tool is a critical element of Schindler’s




1 “Exhibit 0059”, email from Christopher Lape, 2/2/17, SB40084609
2 “RE: 10K SM – Report on Elevator Damage”, email from Christopher Lape, 3/29/16, SEC 001132
3 “Employee Timecards”, Timecards from Schindler, 4/29/16, SEC000765
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installation system and consists of a custom fabricated device built specifically for each
project and each elevator shaft. Fabrication of the new GRIK tool after the loss event
required a long lead time. The rebuilding of the GRIK tool in the passenger elevator shaft,
first mentioned as being back in place and being adjusted and ready to drop target lines
after 4/25/16, would mark the ability to start Jump 2 following the loss event. Our
understanding of the timing of the work was confirmed by interviews with the Swinerton
and Schindler personnel who were involved.

We, therefore, disagree with the JSH interpretation of the end of clean-up activities that
show up on the Schindler daily reports as substantiating the Period of Delay as ending on
2/26/16. JSH should have considered other documentation of work being performed in
April and replacement of temporary equipment in the shaft, including the GRIK tool, in
establishing the end of the end of repair work.

JSH Opinion 2. The Penthouse re-design changes (Bulletin #28) delayed the concrete
pours on Level 40, Level 41 (elevator machine room floor), Level 42 the Helipad (elevator
machine room roof), the elevator machine room work, the subsequent elevator work,
and impacted the project.

Response: The JSH analysis is based on their understanding that the machine room had
to be complete prior to proceeding with Jump 2. Although this is a logic constraint
included in the Swinerton schedules, in the as built sequence the machine room work in
fact did not hold up work on Jump 2. The Schindler Scaffold-less Installation Methodology
(SLIM) removes the constraint by allowing work to progress in the shaft independent of
the work in the machine room. Whether the installation was to be 3 jumps, or 2 jumps or
4 jumps was entirely dynamic and the determination off what levels to work from and the
number of jumps that would best facilitate the work could be adjusted to best fit the
conditions with respect to how elevator installation related to concrete shaft completion.


Figure 1 below demonstrates that Jump 2 did in fact proceed before the completion of
the machine room. Even though the concrete pours on Level 40, Level 41 (elevator
machine room floor) and Level 42 (elevator machine room roof) were delayed it did not
delay completion because after the completion of these activities the work in the
elevator shaft could not commence for a period of 47 days until April 26, 2016 when the
replacement GRIK tool as discussed above could be utilized to set the target line (refer
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to Figure 1). Even if the slab pours took place on the dates originally planned it would not
have resulted in the project being completed earlier. The machine room was complete
with permanent power on April 8th, the GRIK tool was rebuilt on April 25th, this shows that
the shaft work was behind the machine room by over a month.




                                                                 47 days




                    Figure 1 - Tower Concrete Loss Event Relationship

JSH Opinion 3: The post-loss re-design of the crash decks and re-installation of the crash
decks impacted the start of the elevator shaft repair work.

Response: JSH argues that, “…had the crash decks been rebuilt according to the original
design, the crash decks could have been replaced earlier, allowing both repair work and
new installation work to begin earlier.” JSH attributes delay in the crash deck re-design
and replacement to Schindler and seems to argue that Schindler could have simply put
the crash decks back up after the loss event and kept going. Multiple crash decks were
damaged or completely destroyed by the concrete falling down the shaft when the
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formwork failed, and the delay in getting crash decks re-designed and back in place
was a direct impact of the loss event. Had the form failure occurred an hour earlier when
workers were in the shaft, the crash deck failure would have likely resulted in the death
of workers in the shaft. The loss event and the failure of the crash deck system caused
great concerns with worker safety going forward. Even with the re-designed crash decks,
Schindler refused to be on site working in the shafts on pour days. The JSH assumption
that after the loss event Swinerton could have simply put the same crash decks in place
that had just failed and expected Schindler to return to work in the shaft is not reasonable.

Change Order CO5 as requested by Schindler and approved by Swinerton 4 outlined
criteria that had to be met prior to Schindler crews mobilizing the host way, and included:

    •   All divider beam installations are halted while SEC employees are on site,
    •   No concrete pouring on shear walls or deck areas within 25 feet of hoist ways
        while SEC employees are on site,
    •   Two additional crash decks installed per SEC specifications at level 30 and 36,
    •   SEC will require 3 days’ notice for the remaining shear wall pours to ensure
        enough time to schedule employees for offsite work.

According to Conco daily reports, the crash decks at levels 30 and 36 were installed on
1/25/16. As discussed in the response to JSH Opinion 1, Schindler’s daily reports show the
damage assessment took place on February 18, 2016 and the clean-up complete
around 2/26/16, but the damaged clips were not replaced until the first week of April and
the GRIK tool was not in place until 4/26/16 which marked the start of Jump 2.

Therefore, we conclude, contrary to JSH, that it would have been unreasonable to have
used the original crash deck design going forward after the original design had failed so
dramatically in containing falling debris, or to have expected Schindler to send its work
crews back into the shaft under those circumstances, and we disagree with JSH that
getting the crash decks back in place any sooner would have reduced the delay due




4 “Change Order #5”, Subcontractor Change Order from Schindler, 1/12/16, SEC001124
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to the repairs since the elevator work could not have proceeded without new clips and
the GRIK tool in place on 4/26/16.

JSH Opinion 4. The elevator work and durations were impacted and delayed by the
elevator front (entrances) work and the elevator card reader/port system work. These
issues impacted the completion of the elevator work and of the project. These items were
base contract work and were not damaged as a result of the loss event.

Response: In early March 2016, Schindler was informed by a representative from LA City’s
building department regarding ADA issues affecting the PORT card reader.5 Specifically,
the Owner had requested that Schindler customize its PORT elevator call console for the
lobby. The original design was such that the panel that a user would interact with to call
the elevator projected out from the wall. The ADA-required call button slopes away from
the user. In the Owner’s requested design, the panel would be flush-mounted. The
response from Binh Phan at LA City on 3/10/16 was:

         “Flush mounting of the hall call console is not allowed. Its position shall be sloped
         away from the user at 15 to 25 degrees from the vertical plane per LABC 11B-
         411.2.1.3.4.”

Later however, in June 2016, Binh Phan and Barry Friesen of LA City met with Schindler
representatives who “determined the job should not be covered under new ADA rules
and falls under 2011 rules so we are grand fathered in.”6 This was incorporated into RFI
634.1.

Then on 7/5/16, it was clarified that while the older ADA requirements did apply due to
“grandfathering,” the old code still required an ADA button.7 By October 20, 2016, the
ADA buttons were still 3 weeks from being delivered, so Schindler and Swinerton agreed
to use a temporary station in order to meet the requirements for the Elevator A and B
inspections. 8 An email dated 10/25/16 from Keith Dancy (Swinerton) to Ralph Testa




5 “Fw: 10000 Santa Monica – Fixture Question”, email from Christopher Lape, 3/10/16, SM0008390
6 “FW: Elevator Lobby Port Panel – RFI 634.1”, email from Nalani Wong, 6/3/16, SB2000971
7 “Fw: Elevator Lobby PORT Panel”, email from Christopher Lape, 7/5/16, SB048863
8 “RE: 10000 Santa Monica – Elevator A and B inspection”, email from Keith Dancey, 10/25/16, SB2003541
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(Schindler) directed Schindler to install temporary push buttons to “allow us to final these
cars”.

We therefore conclude, contrary to JSH, that the card reader issue did not hold up the
project and, since there was a fairly simple solution achieved by installing temporary call
buttons, the issue would not have held up the project had the loss event not occurred.

The Held report does not follow the correct critical path analysis method and failed to
take float into account when considering the work on the elevator fronts. All the elevator
fronts activities in the schedules relied upon by JSH had significant float ranging from 26
to 84 working days, indicating these activities were not on the critical path. For example,
if the float in the April 11, 2016 Schedule update is considered in relation to the as-built
schedule completion dates the elevator fronts level 1 – 19 could even have been
completed 42 working days later without impacting the project completion date. Only
one elevator fronts activity, the machine room activity of the front walls to 41 seems to
have exhausted its float with 25 working days. This activity does not have a successor in
the as-built schedule. The logical successor for the front walls to 41 activity completion of
the drywall. The final drywall activity included in the schedule is the drywall on level 40.
The drywall on level 40 was completed on September 28, 2016, which is more than two
months after the completion of the front walls to level 41, which were completed on July
22, 2016. The front walls to 41, therefore, did not delay the occupation of the units.


 ACTIVITY                     PRE-LOSS         ACTIVITY                     RECOVERY            UPDATE           AS-BUILT
                             NOV 30, 2015                                  FEB 16, 2016       APR 11, 2016      MAY 31, 2017
                         FINISH        FLOAT                           FINISH       FLOAT FINISH        FLOAT FINISH

 Jump 1 (1-15)                                 Jump 1 (1-19)
 Fronts complete to 12   Dec 16, 2015 84       Fronts complete to 19   Feb 25, 2016 64    Apr 8, 2016   42      Apr 8, 2016
 Jump 2 (16-28)
 Fronts complete to 27   Feb 4, 2016   53
 Jump 3 (29-40)                                Jump 2 (20-40)
 No fronts activity                            No fronts activity
 Machine room                                  Machine room
 Fronts complete to 41   Feb 8, 2016   53      Fronts complete to 41   Apr 22, 2016 26    May 16, 2016 42       Jul 22, 2016

                                            Figure 2 - Elevator Front Float
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The JS Held report mistakenly concludes that the extended duration of elevator front
work is not related to the loss event and subsequent repairs. The loss event directly
impacted the planned installation timeline of the elevator fronts. To be able to adjust and
set the elevator fronts an operational platform inside the elevator shaft was required. The
occurrence of the loss event prevented access into the shaft for several months making
impossible to set the elevator fronts during this period

JSH Opinion 5: Elevator E, located in a separate elevator shaft and not damaged by the
loss event, was the first “temporary” elevator car available for construction use, and was
a predecessor to the removal of the exterior building personnel lift (manhoist). Elevator E
was completed within the 16-week Subcontract Agreement ‘clock start’ duration terms,
even though work stoppages and non-work periods impacted its completion.

Response: JSH identifies 119 calendar days of “no work” in service elevator shaft E
between 11/6/15 and 3/28/16 based on actualized schedule entries in Swinerton’s
schedule update between activities Install Main Rails to 19 and Build Entrances. JSH
describes and treats this as a delay unrelated to the loss event. JSH concludes that (E)
was not affected by the loss event and was delayed by inadequate workforce, that
having E operational was the condition precedent to being able to remove the
temporary hoist and therefore, the loss event was not responsible for any delay related
to the temporary hoist, or the subsequently the zipper units.

It is clear from the project documentation that, although no concrete actually spilled
down the E shaft, work inside the E shaft stopped due to the safety concerns caused by
the loss event. That stoppage was caused directly by, and was not unrelated to, the loss
event. On 12/11/15, Schindler notified the Swinerton that it would not have crew inside
any hoist ways prior to the building being topped out and machine room walls erected.9

Work inside the E shaft resumed earlier than work inside the passenger elevator shaft.
However, as reflected in an April 4, 2016 letter from Schindler to Swinerton10, manpower
was diverted from shaft E to handle clean up and restoration work in shaft A-D. Once




9 “Reference: Concrete Damage to Elevator Hoistways – Cars A, B, C, & D”, letter from Schindler, 12/11/15, SEC 001097
10 “Exhibit 0053”, letter from Schindler, 4/4/16, SEC001309
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again, the diversion of manpower from shaft E was directly caused by the loss event and
was not unrelated to the loss event. Therefore, the JSH assessment that the service
elevator work was unaffected by the loss event is directly contradicted by clear project
documentation and cannot be supported. The project documentation shows that work
occurring in the service elevator shaft E was in fact directly affected by the safety
concerns that arose after the loss event that affected work in all shafts, and was affected
by the diversion of manpower to the passenger elevator shaft for clean-up and
restoration work.

JSH Opinion 6: Delays to TCO #1 through TCO #4 were not related to the loss event.

Response: Our analysis as described in our primary report addresses our evaluation of the
delay. One significant difference of opinion with the JSH analysis is the use of dates on
which the City of Los Angeles building department issued temporary certificates of
occupancy (“TCO dates”) as completion dates. JSH, in their analysis, states that they
were asked to measure the Period of Delay, if any, caused by the loss event. For the
purposes of their analysis they were asked by their client or its attorneys to assume that
“the actual date on which commercial operation or tenant/ owner occupancy
commenced or could have commenced” is the actual date when all temporary
certificates of occupancy (“TCO”) for the project were achieved. For the purposes of
their analysis, they define completion date and TCO date as one in the same.

We found that in the original project planning and, as evidenced in the pre-loss Swinerton
schedules and schedule updates, all work necessary to achieve each project milestone
described in the construction contract (“Milestone”) was expected to be complete on
the TCO date associated with that Milestone. The contract between Swinerton and
Owner defined completion by Milestones with specific criteria well beyond TCO,
however. The TCO was only one of 7 criteria in the Milestone definition of completion.
Due to delays caused by the loss event, both the owner and Swinerton began to focus
on work necessary to obtain the actual TCOs, by themselves, in order to satisfy the lender
requirements to obtain a refinance of the project and minimize the financial impact of
the delay. Achieving the TCOs was a requirement of the re-finance. SM10000 Property
was setting up a refinance to occur immediately after the anticipated issuance of TCO
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#2.11 The delay resulted in an inability to refinance the construction loan and mezzanine
loan.12 By August 2016, the goal was to refinance by the end of the year. However, due
to the schedule slippage at that point, it was not possible to achieve TCO and total
completion before the end of the year. As of November 22, 2016, in an email from
Crescent Heights to Swinerton, “the delay in lender had already resulted in a multi-million
increase in the cost of buying a required cap under the loan”13.

In order to get the refinance accomplished and mitigate potential further financial
damages, effort was focused in the Fall of 2016 on satisfying the City of Los Angeles
Department of Building and Safety (LADBS) in order to obtain TCOs even though
substantial other contract work remained to be performed that would be necessary to
achieve completion necessary for the commencement of commercial operations or
tenant occupancy as defined by the policy.

As of 12/10/16, there was still contract work not yet completed, which included work on
exterior systems at Levels 1 and 3, curtain wall, storefront & doors, panels & louvers, east
garage entry canopy, interior glazing and glass doors at Studio Area, window coverings,
gate at transformers, and casework, stone, doors, wood floors, etc., throughout the
building. 14 None of the units was ready for occupancy at that time and it would be
months before all units were ready for occupancy.

We, therefore, disagree with the JSH assumption that the issuance of TCO’s signified the
completion date of the work as used in their analysis. That assumption is contrary to the
facts as shown by the project documentation and should have been challenged by JSH.
We also disagree with JSH conclusion, based on the erroneous assumption noted above,
that delays to TCO #1 through #4 are not related to the loss event.




11 “RE: 10000SMB: Sheedy”, email from Ray Haj, 7/13/16, SM0007829
12 “SM 10000 Project: Project & Overview”, presentation from Swinerton, 7/12/17, MMD 00020463
13 “update”, email from Bruce Menin, 11/22/16, SM0007019
14 “10000 Santa Monica 5/31/17 As Built”, schedule from Swinerton, 9/13/17, SB30081294
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3. REVIEW OF METHODOLOGY IN CONTEXT OF INDUSTRY BEST PACTICE

3.1 INDUSTRY BEST PRACTICE

Delay analysis methods utilized in the construction industry are formalized in best practice
guides such as the American Association of Cost Engineers (AACE) Forensic Schedule
Analysis Practice Note. The best practice publications provide guidance on how to
execute the 5 core methods commonly utilized to analyze CPM schedules and also
provides direction on how to consider other complex matters in schedule analysis like
concurrent delays and float ownership.

Very limited industry guidance specifically relating to delay start up (DSU) insurance
claims is in existence. A limited number of published articles provide commentary on the
application of the 5 core delay analysis methods utilized in the construction industry in
the context of DSU claims. Literature on concurrent delays relating to DSU claims is
exceptionally limited. To address this knowledge gap, the world’s second largest
reinsurer, Swiss Reinsurance Company Ltd., produced a guideline to assist underwriters
and the parties involved in large construction projects with fundamentals for start-up
insurance. A method to deal with concurrent insured and uninsured delays, that is similar
to construction industry best practice for concurrent delays, is explained in the guideline.

No industry recognized delay analysis method uniquely suited for the analysis of
construction delay for DSU Insurance claims exists. Established delay analysis methods
utilized in the construction industry are potentially relevant in the context of DSU insurance
claims. Absent a clear agreement to use a particular method, the selection of the most
appropriate method or methods in a particular case should be made by the schedule
analyst exercising sound professional judgment based on the availability of project
documentation, the complexity of the project, and the language of the policy. That did
not happen in this case because JSH was instructed or directed by lawyers to use a
particular method that is not an industry recognized method.



3.2 J.S. HELD ANALYSIS IN CONTEXT OF INDUSTRY BEST PRACTICE

The requirements contained in the industry best practice guides were utilized to assess
the J.S. Held reports.
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A. FAILURE TO CONSIDER INFORMATION ESSENTIAL FOR ACCURATE ANALYSIS

Industry guidance organizations place great emphasis on the importance of reviewing
contractual   documentation        and   contemporaneous      project   documents     as   a
fundamental principle of the delay analysis process. In following the principle, the
consideration of the construction agreement’s definition of project completion and the
definition of the period of delay in the insurance policy, are critical to ensure accurate
results in the analysis process.   J.S. Held mistakenly assumes that the issuance of a
Temporary Certificates of Occupancy (TCO) constitutes project completion. In addition
to a TCO, the construction agreement requires that units should be in a move-in condition
for project completion to be achieved. The insurance policy also relies on the date when
tenant occupancy could commence or in other words when the units were in move-in
condition in calculating the period of delay. When it performed its original analysis JSH
did not review the insurance policy according to the deposition of Lisa Enloe. It is not
known whether JSH read the policy after the date of her deposition.

It is clear from the project documents that the date when the units were complete and
tenant occupancy could commence trails the issuance of the TCO by several months.
J.S. Held was requested to determine the period of delay. The flawed assumption on
project completion prevented J.S. Held to accurately determine the period of delay. The
error that resulted in the flawed conclusions could have been avoided by following the
guidance of the AACE to review and consider the requirements set out in the
construction agreement and insurance policy.

   Þ Not considering contractual requirements – AACE 29R-03, p 10, 13, 18, 22, 32, 50,
       103 & 104

B. UNPROVEN METHOD NOT KNOWN BY INDUSTRY UTILIZED

None of the 5 proven industry recognized CPM delay analysis methods was utilized in the
J.S. Held analysis. These methods were developed to ensure consistency and accuracy
of results. The J.S. Held report does not identify the analysis method that was utilized. The
subsequent deposition of the authors of the report revealed that a specific method
developed by J.S. Held for insurance related claims was utilized. A very recent article,
titled: “A comparison of delay analysis methodologies in a builder’s risk context”, written
by a present and a former employee of J.S. Held argues for a different approach that is
used by J.S. Held. The authors acknowledge this approach is not used in the construction
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industry, is largely unknown to professional schedule delay analysts and contractors and
can lead to misunderstanding, controversy and litigation.

The industry recognized delay analysis methods were developed over many years, tested
by industry, peer reviewed by means of countless research papers, tested in legal
proceedings and evaluated by industry specialist bodies before these methods received
industry recognition and were incorporated in industry guidance documents. The Held
method has not been tested in any of the ways explained above and remains, to the
best of our knowledge, an approach only applied by J.S. Held. By not utilizing any of the
proven industry recognized CPM delay analysis methods the credibility of the results is
compromised. The results are also compromised in that only one method is utilized to
reach conclusions. Industry guidance documents are in favor of using more than one
method.

   Þ Not utilizing industry recognized delay analysis method – AACE 29R-03, p 38 - 97
   Þ Not following recommendation to use more than one method - AACE 29R-03, p
       126

C. METHODOLOGY FOLLOWED FAILED TO DETERMINE WHAT WAS REQUIRED

The policy provides coverage for the period of delay caused by the loss event. To
calculate the period of delay the analysis should establish whether the project would
have completed earlier but for the loss event. The method utilized by J.S. Held does not
answer this question, because it does not take into account how construction would
have progressed, or what probably would have happened, had the loss event not
occurred. The method utilized makes the flawed assumption that the contractor and
owner would have made the same decisions whether or not the loss event occurred. This
assumption fails to consider the rational actions that would be taken by a contractor to
avoid or minimize delay by re-sequencing and re-prioritizing activities. All that this method
can determine is what would have happened in a hypothetical situation where the loss
event did not occur, but the contractor and owner behaved as though the loss event
did happen. In other words, they are charged with the decisions they made and the
actions they took when the loss event happened, even if those decisions and actions
would, in all likelihood, have been different if the loss event did not occur. That is not a
plausible hypothetical and as a result the method failed to establish when the project
would have completed but for the loss event.
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The recent article by a present and a former employee J.S. Held employees (referred to
in section 3.2 B) acknowledges the following important points about the method used by
JSH:

   •   The JSH method requires contractors and owners “to complete. . . activities
       that are well off of the critical path of the project . . . as quickly as possible . . .
       [to] immunize this contract work from being considered to be concurrently
       delayed.”

       The main purpose of utilizing the critical path method in construction projects
       is to ensure the planned completion date is met by identifying activities that
       are on the critical path to allocate resources that these activities are not
       delayed, as a delay to an activity on the critical path will translate into a delay
       to project completion. To expect a contractor to complete activities that are
       not on the critical path as quickly as possible is illogical because any
       acceleration of these activities would not result in an earlier completion date.
       For this reason, the JSH expected execution approach is contrary to the
       approach that is followed in all major construction projects. When an analysis
       method is utilized that expects a contractor to act in an illogical way, contrary
       to industry practice that defies CPM principles it is highly unlikely that this
       method will deliver accurate results.

   •   “In circumstances where it is desired to pace the completion of non-loss-
       related work because of loss-related delays,” the JSH approach counts “any
       self-imposed (pacing) delays” against the insureds. This is contrary to industry
       best practice. The AACE 29R-03 (page 112) provides the following guidance on
       pacing:

       "Provided that pacing is not precluded by contract or local law, the contractor’s
       right to pace its work in reaction to a critical path delay is a generally accepted
       concept. Thus, the contractor will not be penalized for pacing its work."

       Neither the insurance policy nor the construction agreement precludes the
       contractor to pace the work. Pacing is a valuable tool for a contractor to avoid
       unnecessary costs by reallocating resources in response to a delay. Pacing would
       not have been required but for the loss. Therefore, in contradiction to industry best
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      practice and the insurance policy, the JSH method penalizes the contractor for
      taking proactive action to minimize cost in response to the loss event.

D. CRITICAL REQUIREMENTS FOR ACCURATE DELAY ANALYSIS NOT CONSIDERED

The Critical Path Method (CPM) is utilized in the scheduling of almost all construction
projects. In delay analysis one of the most fundamental requirements for an event to be
considered as a delay to project completion is that the event should affect the critical
path of the project. The AACE 29R-03 considers this requirement as one of the seven
general principles of delay analysis. The J.S. Held report repeatedly refers to specific
activities that were not related to the loss event and continued longer than planned, as
delays without considering whether this activity affected the critical path. This flawed
approach creates an inaccurate perception that numerous activities not related to the
loss event delayed completion.

A review of delay concurrency is critical in producing accurate results when determining
whether a delay impacted the completion of a project. Concurrency is recognized as
one of the most complex but important matters that needs to be addressed in delay
analysis. Over the years an extensive body of knowledge relating to concurrency in delay
analysis was developed. Industry practice notes provide guidance on how to approach
concurrency to allow for accurate results. The approach followed by J.S Held in
considering concurrency is not consistent with any industry recognized best practice.

   Þ AACE 29R-03, p 17 -18, B General Principles

The JSH Expert Report dated October 26, 2020 and signed by Granger A. Stuck appears
to be consistent with methodologies and overall approach expressed in the testimony of
JSH former employee Lisa Enloe, who oversaw the prior JSH work and preparation of
reports related to the subject claim. Enloe testified that although she is familiar with
critical path methodologies and the concepts of concurrency in delay analysis, she did
not perform a Critical Path Analysis.   She also testified that she relied upon policy
interpretation as it relates to defining completion date as TCO date, and instruction to
use a single TCO date to represent the project completion date provided to her by an
attorney or the insurer.   She never determined the impact of any delays on the
completion of the project, only on TCO dates.
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4. CONCLUSION

As explained above, we found the analysis and approach used by J.S. Held was not
consistent with industry standard practices and methods, relied to an unusual degree on
subjective judgment of the analysist, failed to properly identify the correct relationships
between activities, failed to identify and address project documentation supporting the
insured’s claims, overemphasized the significance of certain activity delays that did not
appear to be critical path delays, did not account for float created by the loss event,
failed to determine the critical path of the work throughout the period of construction
and therefore failed to identify the impact on completion of the loss event or of any other
identified schedule delay.



The opinions in the report are based on our review and analysis to date. We reserve the
right to update these opinions upon receipt of new information, or in rebuttal to future
expert testimony.


Sincerely,




Xpera Group
Ted Bumgardner
